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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

KISHA AURELIEN                                 :
     Plaintiff,                                :
                                               :
v.                                             :      Case No. 3:23-cv-00645-SRU
                                               :
ABEL WOMACK, INC., ET AL                       :
     Defendants.                               :


           JOINT MOTION FOR MODIFICATION OF SCHEDULING ORDER

        The parties jointly move for extension of the scheduling order deadlines, as follows.

Task:                                 Deadline:              Proposed Extended Deadline:

Fact Witness Depositions              6/27/25                9/25/25

Plaintiff’s Expert Disclosures        6/27/25                9/25/25

        Depositions                   9/1/25                 12/1/25

Defendant’s Expert Disclosures        7/7/25                 10/6/25

        Depositions                   8/29/25                11/27/25

All Discovery                         10/31/25               1/29/26

Dispositive Motions                   10/1/25                12/30/25

Joint Trial Memo                      11/25/25               2/23/26

Trial Ready                           12/16/25               3/16/26

        This is the second request for extension of these deadlines.

        This request is supported by good cause. To wit: counsel represent that additional time is

needed to complete discovery. Additional discovery is warranted to evaluate and assess

settlement prospects. Counsel are working together in good faith to move this case forward.
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       WHEREFORE, the parties respectfully request that the Court grant this motion and

extend the scheduling order deadlines as outlined above.

                                            PLAINTIFF,
                                            KISHA AURELIEN

                                            __/s/ Erica Pilicy-Ryan________________
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                                            DEFENDANTS,
                                            ABEL WOMACK, INC. & THE RAYMOND
                                            CORPORATION

                                            __/s/ Mark J. Claflin________________
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                                 CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing document was filed electronically to all
counsel of record this 24th day of June 2025. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.


                                                       /s/Mark J. Claflin
                                                      Mark J. Claflin
